18-23538-shl   Doc 10681-3   Filed 10/17/22 Entered 10/17/22 13:58:37   Exhibit C
                                     Pg 1 of 4



                                  EXHIBIT C

                             MIGUEL DECLARATION
    18-23538-shl       Doc 10681-3          Filed 10/17/22 Entered 10/17/22 13:58:37                      Exhibit C
                                                    Pg 2 of 4



MALCOLM LAW FIRM PLLC
Sean B. Malcolm, WSBA #36245
8201 164th Ave NE, Ste. 200
Redmond, WA 98052
Telephone: (206) 659-9514
Email: sean@kirklandtriallawyer.com

Counsel to Edwin G. Miguel

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re                                                           Chapter 11

    SEARS HOLDINGS CORPORATION, et al.,                             Case No. 18-23538 (SHL)

                                       Debtors.1                    (Jointly Administered)


       DECLARATION OF EDWIN G. MIGUEL IN SUPPORT OF OBJECTION OF
    SHELLEY S. HAWKINS TO MOTION OF THE CHUBB COMPANIES FOR ENTRY
       OF AN ORDER (I) RULING THAT DEFAULT JUDGMENT, SETTLEMENT
      AGREEMENTS AND STATE COURT ORDERS ARE EACH VOID AB INITIO
      PURSUANT TO 11 U.S.C. §§ 105(a) AND 362(a) AND WITHOUT EFFECT; AND
                        (II) GRANTING RELATED RELIEF

            Edwin G. Miguel, pursuant to 28 U.S.C. § 1746, being of full age, hereby declares as

follows:

            1.     I am a defendant in state court litigation brought by Shelley S. Hawkins.



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
      number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
      Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774);
      SHC Licensed Business LLC (3718); A&E LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
      (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); & Business Franchises, Inc. (6742); Sears Home
      Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
      (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
      Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
      (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
      Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
      Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
      Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears
      Holdings Publishing Company, LLC (5554); Sears STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
      (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
      LLC (9022); Sears Brands Management Corporation (5365); and SRe Holding Corporation (4816



                                                           1
 18-23538-shl      Doc 10681-3      Filed 10/17/22 Entered 10/17/22 13:58:37            Exhibit C
                                            Pg 3 of 4



       2.      I submit this declaration in support of the Objection of Shelley S. Hawkins to Motion

of the Chubb Companies for Entry of an Order (I) Ruling that Default Judgment, Settlement

Agreements and State Court Orders are Each Void Ab Initio Pursuant to 11 U.S.C. §§ 105(a) and

362(a) and (II) Granting Related Relief (the “Objection”). Capitalized terms used herein are

intended to have the same meanings ascribed to such terms in the Objection.

       3.      In or around October 2020, I signed what the Objection refers to as the First

Settlement Agreement. I did so freely and voluntarily, on advice of counsel.

       4.      In or around June 2021, I executed what the Objection refers to as the Second

Settlement Agreement and the Confession of Judgment. I did so freely and voluntarily, on advice

of counsel.

       5.      I did not, in any way, enter into either the First Settlement Agreement, the Second

Settlement Agreement, or the Confession of Judgment for an improper purpose or as a result of

coercion or harassment. Upon advice of counsel, I determined, in both cases, that settling with

Hawkins would help me protect my personal assets and avoid bankruptcy, and was therefore in

my best interests. The Settlement Agreements were not based, in whole or in part, upon the default

judgment.

       6.      Before signing the Agreements and Confession of Judgment, my insurance

company never defended me or offered me any protection or legal advice with respect to the

lawsuit brought against me by Shelley Hawkins.

       7.      I oppose the insurance company’s motion to void the Second Settlement

Agreement, which I negotiated and executed upon the advice, and with the assistance of, my

personal lawyer.

                          [Remainder of Page Intentionally Left Blank]




                                                 2
18-23538-shl   Doc 10681-3   Filed 10/17/22 Entered 10/17/22 13:58:37   Exhibit C
                                     Pg 4 of 4
